                       UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CIVIL DIVISION

                                       CASE NO.: 3:17-CV-469



 DARRELL DYE,
 SHARON V. WILSON – DYE,

                         Plaintiffs,
                                                      DEFENDANT TRUSTEE SERVICES
 vs.                                                  OF CAROLINA, LLC’s DISCLOSURE
                                                       OF CORPORATE AFFILIATIONS
 ELISA CHINN GARY, JEREMY B. WILKINS,                       AND OTHER ENTITIES
 AARON ANDERSON, BRIAN MOYNIHAN,
 THOMAS P. CIALINO, BLANK ROME, LLP,                     WITH A DIRECT FINANCIAL
 TRUSTEE SERVICES OF CAROLINA, LLC;                       INTEREST IN LITIGATION
 BROCK & SCOTT, PLLC,

                        Defendants.


       Pursuant to Fed. R. Civ. P. 7.1, Defendant Trustee Services of Carolina, LLC, makes the

following disclosure:

1. Is party a publicly held corporation or other publicly held entity?

No.

2. Does party have any parent corporations?

No.

If yes, identify all parent corporations, including grandparent and great-grandparent

corporations: N/A

3. Is 10% or more of the stock of a party owned by a publicly held corporation or other

publicly held entity?

No.

If yes, identify all such owners:       N/A




       Case 3:17-cv-00469-RJC-DSC Document 9 Filed 09/14/17 Page 1 of 4
4. Is there any other publicly held corporation or other publicly held entity that has a

direct financial interest in the outcome of the litigation (Local Civil Rule 7.3 or Local

Criminal Rule 12.3)?

No.

If yes, identify entity and nature of interest: N/A

5. Is party a trade association?

No.

If yes, identify all members of the association, their parent corporations, and any publicly

held companies that own 10% or more of a member’s stock:              N/A

6. If case arises out of a bankruptcy proceeding, identify any trustee and the members of

any creditors’ committee: N/A

       Respectfully submitted this 14thday of September, 2017.

                                                      BROCK & SCOTT, PLLC
                                                      Attorneys for Defendants TSC, Brock & Scott,
                                                      Jeremy Wilkins, and Aaron Anderson

                                                BY: /s/Renner St. John_____________
                                                    Renner St. John, NC Bar #33903
                                                      8757 Red Oak Blvd., Suite 150
                                                      Charlotte, NC 28217
                                                      Tel: 704-643-0290; Fax: 704-533-7225
                                                      renner.st.john@brockandscott.com




                                                  2

       Case 3:17-cv-00469-RJC-DSC Document 9 Filed 09/14/17 Page 2 of 4
                       UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CIVIL DIVISION

                                       CASE NO.: 3:17-CV-469

 DARRELL DYE,
 SHARON V. WILSON – DYE,


                         Plaintiffs,
                                                           CERTIFICATE OF SERVICE
 vs.

 ELISA CHINN GARY, JEREMY B. WILKINS,
 AARON ANDERSON, BRIAN MOYNIHAN,
 THOMAS P. CIALINO, BLANK ROME, LLP,
 TRUSTEE SERVICES OF CAROLINA, LLC;
 BROCK & SCOTT, PLLC,

                         Defendants.



       I hereby certify that on September 14, 2017, a copy of the foregoing Defendant Trustee

Services of Carolina, LLC’s Disclosure of Corporate Affiliations and Other Entities with a Direct

Financial Interest in Litigation, and this Certificate of Service, with any and all attachments, were

filed electronically with the clerk of court via ECF and served via First-Class Mail, postage

prepaid, addressed to:


 Sharon Victoria Wilson – Dye
 201 N. McDowell Street # 35572
 Charlotte, NC 28235

 Darrell Dye
 201 N. McDowell Street # 35572
 Charlotte, NC 28235

 Nathan Jessee Taylor
 McGuire Woods, LLP
 201 N. Tryon Street
 Suite 3000
 Charlotte, NC 28202

                                                 3

       Case 3:17-cv-00469-RJC-DSC Document 9 Filed 09/14/17 Page 3 of 4
                                   BROCK & SCOTT, PLLC
                                   Attorneys for Defendants TSC, Brock & Scott,
                                   Jeremy Wilkins, and Aaron Anderson

                              BY: /s/Renner St. John_____________
                                  Renner St. John, NC Bar #33903
                                   8757 Red Oak Blvd., Suite 150
                                   Charlotte, NC 28217
                                   Tel: 704-643-0290; Fax: 704-533-7225
                                   renner.st.john@brockandscott.com




                               4

Case 3:17-cv-00469-RJC-DSC Document 9 Filed 09/14/17 Page 4 of 4
